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9
10                                UNITED STATES DISTRICT COURT
11                               NORTHERN DISTRICT OF CALIFORNIA
12                                    SAN FRANCISCO DIVISION
13
14   UNITED STATES OF AMERICA,                    )        No. CR 05-00395 CRB
                                                  )
15           Plaintiff,                           )        REQUEST, STIPULATION AND ORDER
                                                  )
16      v.                                        )
                                                  )
17   KEUN SUNG LEE,                               )
                                                  )
18           Defendant.                           )
                                                  )
19
             This matter is currently on the Court’s calendar for July 5, 2006. Through counsel,
20
     defendant Keun Sung Lee and the United States ask the Court to (a) vacate the July 5, 2006 date
21
     based on the defendant’s anticipated plea agreement, (b) set a date of August 16, 2006 for
22
     change-of-plea, and (c) exclude time under the Speedy Trial Act, 18 U.S.C. § 3161 from July 5,
23
     2006, to August 16, 2006.
24
        1. The parties are finalizing the language of a plea agreement and request that the Court set
25
     the matter for August 16, 2006, for change-of-plea.
26
        2. The parties agree that the time between July 5, 2006 and August 16, 2006 should be
27
     excluded from the Speedy Trial clock. Previously, the Court has declared this case complex.
28
     ORDER
     CR 05-00395 CRB
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1    See 18 U.S.C. § 3161(h)(8)(B)(ii). Further, defense counsel will be in Indiana in a trial from July
2    10, 2006 through the first week in August, and thus unavailable until August 16, 2006. Defense
3    counsel is continuing to review discovery, including recently provided materials, negotiate the
4    plea language, and needs time to review the materials with the defendant. These matters need a
5    short amount of time to be resolved, and thus the parties agree that a continuance is necessary for
6    the effective preparation of defense counsel, taking into account the exercise of due diligence,
7    and based on continuity of counsel. See 18 U.S.C. § 3161(h)(8)(B)(iv). The parties also agree
8    that the ends of justice served by excluding the period from July 5, 2006 to August 16, 2006
9    outweigh the interest of the public and the defendant in a Speedy Trial. See id. § 3161(h)(8)(A).
10      STIPULATED:
11
        June 30, 2006                          /S/     PETER B. AXELROD
12   DATE                                            PETER B. AXELROD
                                                     LAUREL BEELER
13                                                   Assistant United States Attorneys
14
        June 30, 2006                        /S/      ALAN BAUM
15   DATE                                            ALAN BAUM
                                                     Attorney for Keun Sung Lee
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17
                                                   ORDER
18
        For good cause shown, and for the reasons stated above, the Court (a) vacates the July 5,
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     2006, hearing date for defendant Keun Sung Lee based on the anticipated plea agreement, (b) sets
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     the matter for change-of-plea on August 16, 2006, at 2:15 p.m., and (c) excludes times under the
21
     Speedy Trial Act, 18 U.S.C. § 3161, from July 5, 2006, to August 16, 2006. The Court finds that
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     the failure to grant the requested exclusion would deny defense counsel reasonable time
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     necessary for effective preparation taking into account the exercise of due diligence and
24
     continuity of counsel. Further, the Court finds the exclusion warranted on complexity grounds,
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     under 18 U.S.C. § 3161(h)(8)(B)(ii). Thus, the Court finds that the ends of justice served by
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     granting the requested exclusion outweigh the best interest of the public and the defendant in a
27
     speedy trial and in the prompt disposition of criminal cases. The Court therefore concludes that
28
     ORDER
     CR 05-00395 CRB
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1    this exclusion of time should be made under 18 U.S.C. §§ 3161(h)(8)(A), (h)(8)(B)(ii) and
2    (h)(8)(B)(iv).
3       IT IS SO ORDERED.
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                                                 T ___________________________
5           June 30, 2006
     DATED:________________




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                                                     CHARLES R. BREYER




                                                                             RT
6                                                                  ERED Judge
                                                     United States District
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     ORDER
     CR 05-00395 CRB
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